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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF NEW YORK


MONIQUE SALERNO, et al., on behalf of
themselves and all others similarly situated,

                  Plaintiffs,                   Case No. 1:21-cv-04987-BMC

              -against-

KIRK’S NATURAL LLC,

                  Defendant.


 ORDER GRANTING PRELIMINARY APPROVAL OF SETTLEMENT, APPROVAL
   OF FORM NOTICE, SCHEDULING OF FINAL APPROVAL HEARING, AND
          GRANTING LEAVE TO FILE AMENDED COMPLAINT




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       Upon consideration of Plaintiffs’ Monique Salerno and Krista Mendoza’s (“Plaintiff”)

Unopposed Motion for Preliminary Approval of Class Action Settlement, Preliminary

Certification of Settlement Class, and Approval of Notice Plan, the motion hearing before this

Court, and the entire record herein, the Court grants preliminary approval of the Settlement

contained in the Parties’ Settlement Agreement (“Settlement Agreement”), upon the terms and

conditions set forth in this Order. Capitalized terms and phrases in this Order shall have the same

meaning ascribed to them in the Settlement Agreement. The Court makes the following findings:

                                      FINDINGS OF FACT

       1.     Plaintiffs bring this Unopposed Motion for Preliminary Approval of Class Action

Settlement, Preliminary Certification of Settlement Class, and Approval of Notice Plan before the

Court, with the consent of Defendant Kirk’s Natural LLC (“Defendant” or “Kirk’s”).

       2.     Plaintiff Monique Salerno was granted leave to file her Amended Complaint for

Settlement against Defendant (the “Action”) in the United States District Court for the Eastern

District of New York, joining Plaintiff Krista Mendoza as a plaintiff, alleging that Kirk’s South

of France Products are misleading because the name of the Products, French translations, images

of the southern French coastline, and other statements and iconograph on the labels give

consumers the mistaken belief that the Products, which are manufactured in the United

States, are from France.

       3.     The Parties conducted an extensive and thorough examination, investigation, and

evaluation of the relevant law, facts, and allegations to assess the merits of the potential claims to

determine the strength of both defenses and liability sought in the Action.

       4.     The Parties engaged in discovery, where Defendant provided Plaintiffs with

extensive information and documents, including sales, pricing, profit-and-loss information.




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       5.       In addition, Class Counsel evaluated the various state consumer protection laws, as

well as the legal landscape, to determine the strength of the claims, the likelihood of success, and

the parameters within which courts have assessed settlements similar to the proposed Settlement.

       6.       The Parties entered into a Settlement Agreement pursuant to which they agreed to

settle the Action, subject to the approval and determination by the Court as to the fairness,

reasonableness, and adequacy of the Settlement, which, if approved, will result in dismissal of the

Action with prejudice.

       7.       The Court has reviewed the Settlement Agreement, including the exhibits attached

thereto and all prior proceedings herein, and having found good cause based on the record,

            THEREFORE, IT IS ORDERED, ADJUDGED, AND DECREED as follows:

       1.       Stay of the Action. All non-settlement-related proceedings in the Action are hereby

stayed and suspended until further order of the Court.

       2.       Granting Leave to File the Amended Complaint. The Court GRANTS Plaintiffs

leave to file the proposed Amended Complaint for settlement purposes attached as Exhibit E to

the Settlement Agreement. Kirk’s may seek an order from the Court that the allegations in the

Amended Complaint are deemed controverted by the answer previously filed by Kirk’s in response

to the currently operative complaint in the Action within 14 days in lieu of filing an answer to the

Amended Complaint.

       3.       Preliminary Class Certification for Settlement Purposes Only. Having made

the findings set forth above, the Court hereby preliminarily certifies a plaintiff class for settlement

purposes only, pursuant to Federal Rule of Civil Procedure 23(a) and (b)(3), in accordance with

the terms of the Settlement Agreement (the “Settlement Class”). The Court preliminarily finds,

based on the terms of the Settlement described in the Settlement Agreement and for settlement




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purposes only, that: (a) the Settlement Class is so numerous that joinder of all members is

impracticable; (b) there are issues of law and fact that are typical and common to the Class, and

that those issues predominate over individual questions; (c) a class action on behalf of the certified

Class is superior to other available means of adjudicating this dispute; and (d) as set forth below,

Plaintiffs and Class Counsel are adequate representatives of the Class. If the Court does not grant

final approval of the Settlement set forth in the Settlement Agreement, or if the Settlement set forth

in the Settlement Agreement is terminated in accordance with its terms, then the Settlement

Agreement, and the certification of the Settlement Class provided for herein, will be vacated and

the Action shall proceed as though the Settlement Class had never been certified, without prejudice

to any party’s position on the issue of class certification or any other issue. Defendant retains all

rights to assert that the Action may not be certified as a class action, other than for purposes of this

Settlement.

        4.      Class Definition. The Settlement Class is defined as all persons who, from

September 3, 2015 to $XJXVW  022, purchased one or more South of France products for

personal or household use and not for resale in the United States. Excluded from the Settlement

Class and Settlement Class Members are: (a) the directors, officers, employees, and attorneys of

Defendant, its parents and subsidiaries; (b) governmental entities; (c) the Court, the Court’s

immediate family, and Court staff; (d) the Honorable Wayne Andersen (Ret.) and his immediate

family; and (d) any person that timely and properly excludes himself or herself from the

Settlement Class in accordance with the procedures approved by the Court.




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       5.      Class Representatives and Class Counsel. The Court appoints Michael R. Reese

and Charles D. Moore from Reese LLP as counsel for the Settlement Class. Monique Salerno and

Krista Mendoza are hereby appointed as Class Representatives.

       6.      Preliminary Settlement Approval. The Court preliminarily approves the

Settlement set forth in the Settlement Agreement as being within the range of possible approval as

fair, reasonable, and adequate, within the meaning of Rule 23 and the Class Action Fairness Act

of 2005, subject to final consideration at the Fairness Hearing provided for below. Accordingly,

the Settlement Agreement is sufficient to warrant sending notice to the Class.

       7.      Jurisdiction. The Court has subject-matter jurisdiction over the Action pursuant to

28 U.S.C. §§ 1332 and 1367 and personal jurisdiction over the Parties before it. Additionally,

venue is proper in this District pursuant to 28 U.S.C. § 1391.

       8.      Fairness Hearing. A Fairness Hearing shall be held on -DQXDU\3 DW

S.m. at the United States District Court for the Eastern District Court of New York in Courtroom

'on the _WK_ floor, to determine, among other things: (a) whether the Action should be finally

certified as a class action for settlement purposes pursuant to Rule 23(a) and (b)(3); (b) whether

the Settlement of the Action should be finally approved as fair, reasonable, and adequate pursuant

to Rule 23(e); (c) whether the Action should be dismissed with prejudice pursuant to the terms of

the Settlement Agreement; (d) whether Settlement Class Members should be bound by the

releases set forth in the Settlement Agreement; (e) whether Settlement Class Members and

related persons should be permanently enjoined from pursuing lawsuits based on the transactions

and occurrences at issue in the Action; (f) whether the application of Class Counsel for an award

of Attorneys’ Fees and Expenses should be approved pursuant to Rule 23(h); and (g) whether the

application of the named Plaintiffs for an Service Award should be approved. The submissions of




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the Parties in support of the Settlement, including Plaintiffs’ Counsel’s application for Attorneys’

Fees and Expenses and Service Awards, shall be filed with the Court no later than thirty (30) days

prior to the Fairness Hearing and may be supplemented up to fourteen (14) days prior to the

Fairness Hearing.

       9.      Administration and Class Notice.

               a.      The Court accepts the recommendations of Class Counsel and Defendant,

and hereby appoints Angeion Group to serve as Settlement Administrator in accordance with the

terms of the Settlement Agreement, and to help implement the terms of the Settlement Agreement.

               b.      The proposed Class Notice, Summary Settlement Notice, the notice

methodology described in the Settlement Agreement and in the Declaration of Steven Weisbrot,

Esq. of Angeion Group, LLC (the “Weisbrot Declaration”) are hereby approved.

               c.      No later than thirty (30) calendar days after the entry of the Preliminary

Approval Order, the Settlement Administrator shall cause the Notice Plan to commence as

described in the Weisbrot Declaration. Specifically, the Settlement Administrator shall establish a

website that will inform Settlement Class Members of the terms of the Settlement Agreement, their

rights, dates and deadlines, and related information. The website shall include materials agreed

upon by the Parties and as further ordered by this Court.

               d.      Not later than thirty (30) days after the entry of the Preliminary Approval

Order, the Settlement Administrator shall establish a toll-free telephone number that will provide

Settlement-related information to Settlement Class Members.

               e.      The Settlement Administrator shall disseminate any remaining notice, as

stated in the Settlement Agreement and the Weisbrot Declaration.




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               f.      Not later than fourteen (14) calendar days before the date of the Fairness

Hearing, the Settlement Administrator shall file a declaration or affidavit with the Court that: (i)

includes a list of those persons who have opted out or excluded themselves from the Settlement;

and (ii) attests to the proper implementation of the Notice Plan.

               g.      No later than ten (10) calendar days after the Settlement Agreement is filed

with the Court, the Settlement Administrator, with assistance from the Parties as needed, shall mail

or cause the items specified in 28 U.S.C. § 1715(b) to be mailed to each State and Federal official,

as specified in 28 U.S.C. § 1715(a).

       10.     Findings Concerning Notice. The Court finds that the form, content, and method

of giving notice to the Class as described in paragraph 8 of this Order: (a) will constitute the best

practicable notice; (b) are reasonably calculated, under the circumstances, to apprise the Settlement

Class Members of the pendency of the Action, the terms of the proposed Settlement, and their

rights under the proposed Settlement, including but not limited to their rights to object to or exclude

themselves from the proposed Settlement and other rights under the terms of the Settlement

Agreement; (c) are reasonable and constitute due, adequate, and sufficient notice to all Settlement

Class Members and other persons entitled to receive notice; and (d) meet all applicable

requirements of law, including but not limited to 28 U.S.C. § 1715, Rule 23(c) and (e), and the

Due Process Clause(s) of the United States Constitution. The Court further finds that all of the

notices are written in plain language, are readily understandable by Settlement Class Members,

and are materially consistent with the Federal Judicial Center’s illustrative class action notices.

       11.     Exclusion from Settlement Class. Any Settlement Class Member who wishes to

be excluded from the Class may elect to opt out of the Settlement under this Agreement. Settlement

Class Members who opt out of the Settlement will not release their claims for damages that accrued




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during the Class Period. Settlement Class Members wishing to opt out of the Settlement must send

to the Class Action Settlement Administrator by U.S. Mail a personally signed letter including

their name and address and providing a clear statement communicating that they elect to be

excluded from the Settlement Class. Any request for exclusion must be received on or before the

Opt-Out Date specified in this Preliminary Approval Order. Any potential Settlement Class

Member who does not file a timely written request for exclusion shall be bound by all subsequent

proceedings, orders, and judgments, including, but not limited to, the release in the Settlement

Agreement, even if he or she has litigation pending or subsequently initiates litigation against

Defendant or other Released Persons (as defined in the Settlement Agreement) relating to the

claims and transactions released in this Action.

       12.     Objections and Appearances. Any Settlement Class Member who intends to

object to the fairness of the Settlement must do so in writing no later than the Objection Date. Any

objection must be in writing, signed by the Settlement Class Member (and his or her attorney, if

individually represented), and filed with the Court, with a copy delivered to Class Counsel and

Defendant’s Counsel at the addresses set forth in the Class Notice, no later than the Objection

Date. The written objection must include: (i) the case name and number: Salerno v. Kirk’s Natural

LLC, Case No. 21-cv-04987-BMC; (ii) the name, address and telephone number of the objector;

(iii) the name, address, and telephone number of all counsel (if any) who represent the objector,

including any former or current counsel who may be entitled to compensation for any reason if the

objection is successful, and legal and factual support for the right to such compensation;

(iv) documents or testimony sufficient to establish membership in the Settlement Class; (v) a

detailed statement of any objection asserted, including the grounds therefor; (vi) whether the

objector is, and any reasons for, requesting the opportunity to appear and be heard at the final




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approval hearing; (vii) the identity of all counsel (if any) representing the objector who will appear

at the final approval hearing and, if applicable, a list of all persons who will be called to testify in

support of the objection; (viii) copies of any papers, briefs, or other documents upon which the

objection is based; (ix) a detailed list of any other objections submitted by the Settlement Class

Member, or his/her counsel, to any class Litigations submitted in any state or federal court in the

United States in the previous five (5) years (or affirmatively stating that no such prior objection

has been made); and (x) the objector’s signature, in addition to the signature of the objector’s

attorney (if any). Failure to include documents or testimony sufficient to establish membership in

the Settlement Class shall be grounds for overruling and/or striking the objection on grounds that

the objector lacks standing to make the objection. Failure to include any of the information or

documentation set forth in this paragraph also shall be grounds for overruling an objection.

       Any Settlement Class Member who files and serves a written objection, as described in the

preceding Section, may appear at the Final Approval Hearing, either in person or through counsel

hired at the Settlement Class Member’s expense, to object to any aspect of the fairness,

reasonableness, or adequacy of this Agreement, including Attorneys’ Fees and Expenses and

Service Awards. Settlement Class Members or their attorneys who intend to make an appearance

at the Final Approval Hearing must serve a notice of intention to appear on the Class Counsel

identified in the Class Notice, and to Defendant’s Counsel, and file the notice of appearance with

the Court, no later than fifteen (15) days before the Final Approval Hearing, or as the Court may

otherwise direct.

       Any Settlement Class Member who fails to comply with Section VI.6.6 of the Settlement

Agreement shall waive and forfeit any and all rights he or she may have to appear separately and/or

to object, and shall be bound by all the terms of this Agreement and by all proceedings, orders and




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judgments in the Action, including, but not limited to, the Released Claims and the releases in

Section VII of the Agreement.

       Class Counsel shall have the right, and Defendant shall reserve its right, to respond to any

objection no later than fourteen (14) days before the Final Approval Hearing. The Party so

responding shall file a copy of the response with the Court, and shall serve a copy, by regular mail,

hand or overnight delivery, to the objecting Settlement Class Member or to the individually hired

attorney for the objecting Settlement Class Member, to Class Counsel, and to Defendant’s

Counsel.

       13.     Disclosures.    The Settlement Administrator, Defendant’s Counsel, and Class

Counsel shall promptly furnish to each other copies of any and all objections or written requests

for exclusion that might come into their possession.

       14.     Termination of Settlement. This Order shall become null and void and shall not

prejudice the rights of the Parties, all of whom shall be restored to their respective positions

existing immediately before this Court entered this Order, if: (a) the Settlement is not finally

approved by the Court or does not become final, pursuant to the terms of the Settlement

Agreement; (b) the Settlement is terminated in accordance with the Settlement Agreement; or (c)

the Settlement does not become effective as required by the terms of the Settlement Agreement

for any other reason. In such event, the Settlement and Settlement Agreement shall become null

and void and be of no further force and effect, and neither the Settlement Agreement nor the

Court’s orders, including this Order, relating to the Settlement shall be used or referred to for any

purpose.




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       15.     Nationwide Stay and Preliminary Injunction.            Effective immediately, any

actions or proceedings pending in any state or federal court in the United States involving the

labeling or marketing of Defendant’s Products, except any matters necessary to implement,

advance, or further approval of the Settlement Agreement or settlement process, are stayed pending

the final Fairness Hearing and the issuance of a final order and judgment in this Action.

       In addition, pending the final Fairness Hearing and the issuance of a final order and

judgment in this Action, all members of the Settlement Class and their legally authorized

representatives are hereby preliminarily enjoined from demanding, threatening, filing,

commencing, prosecuting, maintaining, intervening in, participating in (as class members or

otherwise), or receiving any benefits from any other lawsuit, arbitration, or administrative,

regulatory, or other proceeding or order in any jurisdiction in the United States (defined to

including both states and territories of the United States) arising out of or relating to the

Merchandise or the facts and circumstances at issue in the Action.

       Also, pending the final Fairness Hearing and issuance of a final order and judgment in this

Action, all members of the Settlement Class and their legally authorized representatives are hereby

preliminarily enjoined from demanding, threatening, filing, commencing, prosecuting, or

maintaining any other lawsuit on behalf of members of the Settlement Class, if such other action

is based on or relates to Defendant’s Products.

       Under the All Writs Act, the Court finds that issuance of this nationwide stay and injunction

is necessary and appropriate in aid of the Court’s jurisdiction over this Action. The Court finds

no bond is necessary for issuance of this injunction.

       16.     Effect of Settlement Agreement and Order. Plaintiffs’ Counsel, on behalf of the

Settlement Class, and Defendant entered into the Agreement solely for the purpose of




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compromising and settling disputed claims. This Order shall be of no force or effect if the

Settlement does not become final and shall not be construed or used as an admission, concession,

or declaration by or against Defendant of any fault, wrongdoing, breach, or liability. The

Settlement Agreement, the documents relating to the Settlement Agreement, and this Order are

not, and should not in any event be (a) construed, deemed, offered, or received as evidence of a

presumption, concession, or admission on the part of Plaintiffs, Defendant, any member of the

Settlement Class or any other person; or (b) offered or received as evidence of a presumption,

concession, or admission by any person of any fault, wrongdoing, breach, or liability, or that the

claims in the Action lack merit or that the relief requested is inappropriate, improper, or

unavailable for any purpose in any judicial or administrative proceeding, whether in law or in

equity.

          17.    Retaining Jurisdiction. This Court shall maintain continuing jurisdiction over

these settlement proceedings to assure the effectuation thereof for the benefit of the Class. If the

Settlement receives final approval, this Court shall retain jurisdiction over any action to enforce

the release provisions in the Settlement Agreement.

          18.    Continuance of Hearing. The Court reserves the right to adjourn or continue the

Fairness Hearing without further written notice.

          The Court sets the following schedule for the Fairness Hearing and the actions which must

precede it:

                 a.     Plaintiffs shall file their Motion for Final Approval of the Settlement by no

                        later than [30 days before the Fairness Hearing]      'HFHPEHU

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           b.    Plaintiffs shall file their Motion for Attorneys’ Fees, Costs, and Expenses,

                 and Motion for Service Award by no later than [30 days before the
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                 Fairness Hearing]                          .

           c.    Settlement Class Members must file any objections to the Settlement and

                 the Motion for Attorneys’ Fees, Costs, and Expenses, and the Motion for

                 Service Award by no later than [21 days before the Fairness Hearing]

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           d.    Settlement Class Members must exclude themselves, or opt-out, from the

                 Settlement by no later than [21 days before the Fairness Hearing]
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           e.    Settlement Class Members who intend to appear at the Final Fairness

                 Hearing must file a Notice of Intention to Appear at the Final Fairness
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                 Hearing by no later than [15 days before the Fairness Hearing]

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           f.    The Settlement Administrator shall file a declaration or affidavit with the

                 Court that confirms the implementation of the Notice Plan pursuant to the
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                 Preliminary Approval Order [14 days before the Fairness Hearing]

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           g.    Class Counsel and Defendant’s Counsel shall have the right to respond to
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                 any objection no later than [14 days before the Fairness Hearing]

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           h.                                             -DQXDU\_, 2023 at _S
                 The Fairness Hearing will take place on __________             _:__ _.m.

                 at the United States District Court for the Eastern District Court of New
                                        '         floor.
                 York in the Courtroom __ on the __

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                       xx
                                 $XJXVW 2022:
      SO ORDERED this ___ day of _________,

                                              Digitally signed by
                                              Brian    M. Cogan
                                              ____________________________
                                              HONORABLE BRIAN M. COGAN
                                              United States District Court Judge




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